                 Case 5:18-cr-00258-EJD Document 1675-2 Filed 12/05/22 Page 1 of 2



                                        Office of the Clerk
                       United States Court of Appeals for the Ninth Circuit
                                      Post Office Box 193939
                               San Francisco, California 94119-3939
                                           415-355-8000
Molly C. Dwyer
Clerk of Court



                       ATTENTION ALL PARTIES AND COUNSEL
                    PLEASE REVIEW PARTIES AND COUNSEL LISTING



       We have opened this appeal/petition based on the information provided to us by
       the appellant/petitioner and/or the lower court or agency. EVERY attorney and
       unrepresented litigant receiving this notice MUST immediately review the caption
       and service list for this case and notify the Court of any corrections.

       Failure to ensure that all parties and counsel are accurately listed on our docket,
       and that counsel are registered and admitted, may result in your inability to
       participate in and/or receive notice of filings in this case, and may also result in the
       waiver of claims or defenses.

       PARTY LISTING:
       Notify the Clerk immediately if you (as an unrepresented litigant) or your client(s)
       are not properly and accurately listed or identified as a party to the appeal/petition.
       To report an inaccurate identification of a party (including company names,
       substitution of government officials appearing only in their official capacity, or
       spelling errors), or to request that a party who is listed only by their lower court
       role (such as plaintiff/defendant/movant) be listed as a party to the appeal/petition
       as an appellee or respondent so that the party can appear in this Court and submit
       filings, contact the Help Desk at http://www.ca9.uscourts.gov/cmecf/feedback/ or
       send a letter to the Clerk. If you or your client were identified as a party to the
       appeal/petition in the notice of appeal/petition for review or representation
       statement and you believe this is in error, file a motion to dismiss as to those
       parties.

       COUNSEL LISTING:
       In addition to reviewing the caption with respect to your client(s) as discussed
       above, all counsel receiving this notice must also review the electronic notice of
       docket activity or the service list for the case to ensure that the correct counsel are
      Case 5:18-cr-00258-EJD Document 1675-2 Filed 12/05/22 Page 2 of 2

listed for your clients. If appellate counsel are not on the service list, they must file
a notice of appearance or substitution immediately or contact the Clerk's office.

NOTE that in criminal and habeas corpus appeals, trial counsel WILL remain as
counsel of record on appeal until or unless they are relieved or replaced by Court
order. See Ninth Circuit Rule 4-1.

REGISTRATION AND ADMISSION TO PRACTICE:
Every counsel listed on the docket must be admitted to practice before the Ninth
Circuit AND registered for electronic filing in the Ninth Circuit in order to remain
or appear on the docket as counsel of record. See Ninth Circuit Rules 25-5(a) and
46-1.2. These are two separate and independent requirements and doing one does
not satisfy the other. If you are not registered and/or admitted, you MUST, within 7
days from receipt of this notice, register for electronic filing AND apply for
admission, or be replaced by substitute counsel or otherwise withdraw from the
case.

If you are not registered for electronic filing, you will not receive further notices of
filings from the Court in this case, including important scheduling orders and
orders requiring a response. Failure to respond to a Court order or otherwise meet
an established deadline can result in the dismissal of the appeal/petition for failure
to prosecute by the Clerk pursuant to Ninth Circuit Rule 42-1, or other action
adverse to your client.

If you will be replaced by substitute counsel, new counsel should file a notice of
appearance/substitution (no form or other attachment is required) and should note
that they are replacing existing counsel. To withdraw without replacement, you
must electronically file a notice or motion to withdraw as counsel from this
appeal/petition and include your client's contact information.

To register for electronic filing, and for more information about Ninth Circuit
CM/ECF, visit our website at http://www.ca9.uscourts.gov/cmecf/#section-
registration.

To apply for admission, see the instructions and form application available on our
website at https://www.ca9.uscourts.gov/attorneys/.
